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                13      POLITICAL MEDIA, INC. and CONSTITUTIONAL
                        RIGHTS PAC
                14
                15                        IN THE UNITED STATES DISTRICT COURT
                16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                17      THE RONALD REAGAN                            Case No. 2:21-cv-05327-FAR-MAR
                18      PRESIDENTIAL FOUNDATION
                        AND INSTITUTE, a California Non-             JOINT STIPULATION RE
                19      Profit Public Benefit Corporation,           PERMANENT INJUNCTION
                20
                                      Plaintiff,                     [Concurrently Filed With The
                21                                                   [Proposed] Order]
                22               v.
                23      POLITICAL MEDIA, INC., a
                24      Virginia Corporation;                        Complaint Filed: June 30, 2021
                        CONSTITUTIONAL RIGHTS PAC,
                25      an I.R.S. Code Section 527
                26      Organization; and DOES 1
                        THROUGH 10, inclusive,
                27
                28                    Defendants.
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                    1                                       STIPULATION
                    2            Plaintiff The Ronald Reagan Presidential Foundation and Institute (the
                    3   “Reagan Foundation”) and Defendants Political Media, Inc. (“Political Media”) and
                    4   Constitutional Rights PAC (“CRPAC”) (collectively “Defendants”) hereby stipulate
                    5   as follows:
                    6            WHEREAS, on June 30, 2021, the Reagan Foundation filed a complaint for
                    7   injunctive relief and damages (the “Complaint”) and on July 1, 2021 filed an ex parte
                    8   application seeking a temporary restraining order and order to show cause against
                    9   Defendants, both of which allege that, among other things, Defendants unlawfully
                10      infringed on the Reagan Foundation’s trademarks, and used President Ronald
                11      Reagan’s name, image, and likeness in fundraising and other commercial activities,
                12      including but not limited to through the use of the online domain names
                13      trumpreagan.com, trumpreagan.us, and reagantrump.com directed to a website at
                14      www.trumpreagan.us (the “Trump Reagan Website”) and advertising and sale of
                15      @trumpreagan.com email addresses.
                16               WHEREAS, Defendants generally deny the allegations in the Complaint and
                17      accompanying Motion for Temporary Restraining Order, however, Defendants, in
                18      the interest of efficiency and without admission of any liability, damages, irreparable
                19      injury, or a likelihood of success on the merits of Plaintiff’s case, agree to the
                20      issuance of a permanent injunction.
                21               WHEREAS, on July 2, 2021, the parties agreed to the entering of a preliminary
                22      injunction: (i) prohibiting Defendants from directly, or in concert with any other
                23      entity or individual, using any trademarks owned by the Ronald Reagan Foundation
                24      or confusingly similar thereto; (ii) prohibiting Defendants from directly, or in concert
                25      with any other entity or individual, using President Ronald Reagan’s name, image,
                26      or likeness in connection with any commercial or fundraising activities, and (iii)
                27      prohibiting Defendants from using the online domain names trumpreagan.com,
                28      trumpreagan.us, reagantrump.com, or any other domain using the Ronald Reagan
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                    1   name, image, or likeness directed to the Trump Reagan Website or otherwise.
                    2           ACCORDINGLY, IT IS HEREBY STIPULATED AND AGREED THAT:
                    3           1.    Defendants, their officers, agents, servants, employees, attorneys, and
                    4   all those persons in active concert or participation with them are permanently
                    5   enjoined and restrained from:
                    6                 (a)    Infringing upon or using any mark, name, domain name, social
                    7           media handle or other designation which depicts, contains, or consists of any
                    8           name or mark confusingly similar to any trademark owned by the Ronald
                    9           Reagan Foundation, specifically the mark RONALD REAGAN in various
                10              stylizations and forms, including U.S. Trademark Registration No. 5,167,497
                11              for the mark RONALD REAGAN, and U.S. Trademark Registration No.
                12              3,933,461 for the mark RONALD REAGAN stylized in the form of President
                13              Reagan’s signature (collectively referred to as the “Ronald Reagan Mark”),
                14              and including, without limitation, “Trump Reagan” or “Reagan Trump” or
                15              “Trump Reagan Club”;
                16                    (b)    Using Ronald Reagan’s name, image or likeness (the “Reagan
                17              Persona”) for commercial or fundraising purposes or any other purpose and in
                18              any manner that infringes upon the Reagan Foundation’s rights of publicity in
                19              the Reagan Persona;
                20                    (c)    Advertising, displaying, selling, or otherwise distributing
                21              (whether in physical or electronic form), any and all internet web pages, social
                22              media pages, advertisements, marketing or promotional materials, signage,
                23              banners, invoices, pamphlets, leaflets, flyers and the like comprising or
                24              containing the Ronald Reagan Mark or the Reagan Persona (or any variation
                25              or aspect thereof thereof, whether alone or in combination with any other
                26              word(s) or element(s)), or any mark, name, domain name, social media handle
                27              or other designation which depicts, contains, or consists of any name or mark
                28
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                    1           confusingly similar to the Ronald Reagan Mark or the Reagan Persona or any
                    2           aspect thereof;
                    3                  (d)   Registering, attempting to register, or maintaining any trademark
                    4           registration, trademark, trade name, domain name, trade designation, social
                    5           media handle or other indicia of origin or source comprising or containing the
                    6           Ronald Reagan Mark or the Reagan Persona (or any variation or aspect
                    7           thereof, whether alone or in combination with any other word(s) or
                    8           element(s)), or any mark, name, domain name, or other designation which
                    9           depicts, contains, or consists of any name or mark confusingly similar to the
                10              Ronald Reagan Mark or containing any aspect of the Reagan Persona;
                11                     (e)   Committing any acts or making any statements calculated, or the
                12              reasonably foreseeable consequence of which would be, to infringe the Ronald
                13              Reagan Mark or the Reagan Persona;
                14                     (f)   Committing any acts or making any statements calculated, or the
                15              reasonably foreseeable consequence of which would be, to infringe any of
                16              Plaintiff’s rights of publicity in the Reagan Persona or trademark rights in the
                17              Ronald Reagan Mark, or to confuse, mislead, or deceive members of the public
                18              as to sponsorship, approval or affiliation of Plaintiff by, with, or of Defendants,
                19              and;
                20                     (g)   Conspiring with, aiding, assisting or abetting any other person or
                21              business entity in engaging in or performing any of the activities referred to in
                22              subparagraphs (a) through (f) above.
                23              2.     Consistent with paragraph (1) above, Defendants be ordered to remove
                24      from display any advertisements or marketing materials or webpages (including the
                25      Trump Reagan Website) or social media pages comprising, containing, bearing, or
                26      depicting the Ronald Reagan Mark, or any word or words confusingly similar thereto,
                27      or the Reagan Persona, or any aspect thereof, including all internet web pages and
                28      social media pages.
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                    1            3.    Defendants will be required to assign ownership of and transfer to the
                    2   Reagan Foundation any and all domain names registered to Defendants which
                    3   contain or comprise the Reagan Persona or the Ronald Reagan Mark, including but
                    4   not limited to trumpreagan.com, trumpreagan.us, reagantrump.com, or any other
                    5   domain using the Reagan Persona or any aspect thereof.
                    6            4.    Defendants will be required to cancel, deactivate and delete any social
                    7   media account and remove from display any social media page, including but not
                    8   limited to those hosted by Facebook and Twitter, which contain or comprise the
                    9   Ronald Reagan Mark, or use the Reagan Persona, or any aspect thereof, including
                10      Defendants’ Trump Reagan accounts and social media pages .
                11               5.    Defendants be required to destroy any and all advertisements, marketing
                12      materials, internet web pages, social media pages, embossed or engraved products
                13      containing the “Trump Reagan” name, “Reagan Trump” name, the “Trump Reagan
                14      Club” or any confusingly similar name, and any other materials in their possession,
                15      custody or control comprising or containing the Ronald Reagan Mark or the Reagan
                16      Persona or any aspect thereof.
                17               6.    Defendants will provide the Reagan Foundation with proof that they
                18      have complied with the injunction.
                19               IT IS FURTHER STIPULATED AND AGREED THAT Defendants hereby
                20      waive the right to a bond or undertaking posted by Plaintiffs in connection with this
                21      permanent injunction.
                22               IT IS FURTHER STIPULATED AND AGREED THAT, effective
                23      immediately, Defendants shall preserve all originals and copies of hard copy and
                24      electronic evidence, including but not limited to all disks, personal data assistants,
                25      hard drives, virtual hard drives, online storage and other electronic storage devices in
                26      his possession, custody, or control to which they had or have access and on which
                27      relevant information may currently or have previously existed.
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                    1   Dated: July 21, 2021            NORTON ROSE FULBRIGHT US LLP
                    2                                   By /s/ Brian A. Sun
                    3                                   BRIAN A. SUN
                                                        PHILLIP R. DI TULLIO
                    4                                   Attorneys for Plaintiff
                                                        THE RONALD REAGAN PRESIDENTIAL
                    5                                   FOUNDATION AND INSTITUTE
                    6
                        Dated: July 21, 2021            WOODFIN LAW OFFICES, PLLC
                    7
                    8                                   By /s/ Christoperh M. Woodfin

                    9                                   CHRISTOPHER M. WOODFIN
                                                        Attorneys for Defendants
                10                                      POLITICAL MEDIA, INC. and
                                                        CONSTITUTIONAL RIGHTS PAC
                11
                12
                13                      CERTIFICATE OF AUTHORIZATION TO SIGN
                14              Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I, Brian A. Sun, counsel for
                15      Plaintiff, The Ronald Reagan Presidential Foundation and Institute, hereby certify
                16      that Defendants Political Media, Inc., and Constitutional Rights PAC counsel,
                17      Christopher M. Woodfin, has reviewed the contents of this Joint Stipulation re
                18      Permanent Injunction and authorized placement of his electronic signature on this
                19      document.
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